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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

ERNEST EDWARD DYKES, Case Na,; 11-CV-04454
Petitioner, Ror cE) ORDER APPOINTING
OUNSEL
v.

MICHAEL MARTEL, Acting Warden of
California State Prison at San Quentin,

Respondent

Pursuant to Local Rule 2254-25, subdivisions (a) and (b), and the recommendation of the
Selection Board for the United States District Court for the Northern District of California,
Phillip A. Trevifio, 137 N. Larchmont Blvd., #801, Los Angeles, CA 90004, telephone number
(213) 949-8000, and Verna J. Wefald, Verna J. Wefald, 65 N. Raymond Ave., Suite 230,
Pasadena, CA 91103, telephone number (626) 577-2658, are appointed as lead and second

counsel, respectively, to represent petitioner in these habeas corpus death penalty Cc
parep,_| M4 (9 | oT

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SUSANILLSTON~ ™
United States District Judge

Submitted by:

Michael G. Millman
For the Selection Board

[PROPOSED] ORDER APPOINTING COUNSEL

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UNITED STATES DISTRICT COURT
FOR THE
NORTHERN DISTRICT OF CALIFORNIA

ERNEST EDWARD DYKES, Case Number: CV11-04454 SI
Plaintiff, CERTIFICATE OF SERVICE
Vv.
ROBERT L AYERS et al,
Defendant.

I, the undersigned, hereby certify that I am an employee in the Office of the Clerk, U.S. District
Court, Northern District of California.

That on December 20, 2011, I SERVED a true and correct copy(ies) of the attached, by placing
said copy(ies) in a postage paid envelope addressed to the person(s) hereinafter listed, by
depositing said envelope in the U.S. Mail, or by placing said copy(ies) into an inter-office delivery
receptacle located in the Clerk's office.

Phillip Trevino
137 N. Larchmond Blvd., #801
Los Angeles, CA 90004

Ernest Edward Dykes J-90300
San Quentin State Prison
San Quentin, CA 94974

Dated: December 20, 2011
Richard W. Wieking, Clerk
By: Tracy Forakis, Deputy Clerk
